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 1   MICHAEL BAILEY
     United States Attorney
 2   District of Arizona
 3   KEVIN M. RAPP (Ariz. Bar No. 014249, kevin.rapp@usdoj.gov)
     MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoj.gov)
 4   PETER S. KOZINETS (Ariz. Bar No. 019856, peter.kozinets@usdoj.gov)
     ANDREW C. STONE (Ariz. Bar No. 026543, andrew.stone@usdoj.gov)
 5   Assistant U.S. Attorneys
     40 N. Central Avenue, Suite 1800
 6   Phoenix, Arizona 85004-4408
     Telephone (602) 514-7500
 7
     DAN G. BOYLE (N.Y. Bar No. 5216825, daniel.boyle2@usdoj.gov)
 8   Special Assistant U.S. Attorney
     312 N. Spring Street, Suite 1400
 9   Los Angeles, CA 90012
     Telephone (213) 894-2426
10
     NICHOLAS L. MCQUAID
11   Acting Assistant Attorney General
     Criminal Division, U.S. Department of Justice
12
     REGINALD E. JONES (Miss. Bar No. 102806, reginald.jones4@usdoj.gov)
13   Senior Trial Attorney, U.S. Department of Justice
     Child Exploitation and Obscenity Section
14   950 Pennsylvania Ave N.W., Room 2116
     Washington, D.C. 20530
15   Telephone (202) 616-2807
     Attorneys for Plaintiff
16
17                       IN THE UNITED STATES DISTRICT COURT

18                             FOR THE DISTRICT OF ARIZONA

19
     United States of America,                               No. CR-18-422-PHX-SMB
20
                           Plaintiff,
21            v.                                       UNITED STATES’ RESPONSE TO
                                                      DEFENDANTS’ SIXTH MOTION TO
22   Michael Lacey, et al.,                                 CONTINUE TRIAL
                                                                (DOC. 1113)
23                         Defendants.

24                                       INTRODUCTION
25         Defendants’ sixth Motion to Continue seeks a five-month postponement of the
26   current trial date, from April 12, 2021, to September 20, 2021. Defendants cite two reasons
27   for this request: (1) the COVID-19 health pandemic; and (2) their pending mandamus
28   petition in the Ninth Circuit. The United States agrees that a continuance is warranted
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 1   based on the increased severity of the pandemic and the uncertainty it brings to whether
 2   the trial may be conducted this April in a manner that ensures the health and safety of all
 3   trial participants.
 4          Accordingly, the United States does not oppose Defendants’ request for a
 5   continuance, but it instead recommends an August 16, 2021 trial date. The United States
 6   notes that considerable progress has been made since the Defendants’ last motion to
 7   continue in protecting trial participants from COVID-19. First, in December 2020, the
 8   FDA approved and rolled out two highly effective vaccines that will substantially limit the
 9   COVID exposure of trial participants. Second, the federal courts, including the District of
10   Arizona, have recommended and implemented numerous protocols to mitigate the risk of
11   exposure. The United States respectfully submits that a trial continuance to August 16,
12   2021, is warranted in these circumstances. To allow the Court to assess the impact that
13   vaccinations have had on the number of COVID-19 cases in Arizona and the safety of
14   proceeding to trial in August 2021, the United States also respectfully requests that the
15   Court set a status conference for mid-June 2021.
16                                        DISCUSSION
17          This Court is aware of the challenges facing courts across the country when
18   scheduling jury trials in the middle of a protracted pandemic. Here, an additional trial
19   continuance is warranted to protect public health. Federal, state, and local authorities,
20   along with this Court’s orders continuing the January 2021 trial date, have recognized that
21   we are enduring a grave public health emergency requiring people to take extreme
22   measures to limit contact. Indeed, recently the Chief Judge for the District of Arizona—
23   acknowledging that Arizona has the highest per capital infection rate in the world—issued
24   a general order suspending until further notice all criminal and civil jury trials not presently
25   begun but scheduled for the month of January and February 2021. See General Order 21-
26   02 at 2. Depending upon the public health situation, such trials may be further postponed.
27   Id. Based on the number of COVID-19 cases in Arizona, it is highly improbable that the
28   parties will be able to proceed to trial this April.


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 1          a.     Conducting Jury Trials During COVID-19
 2          Last year, the United States Courts issued a comprehensive report that contains
 3   preliminary suggestions and ideas for courts to consider when restarting jury trials. (See
 4   Ex. A) This fifteen-page report provides an exhaustive study of protocols the Court may
 5   implement to mitigate the risk of COVID-19 exposure among trial participants. In
 6   addition, the District of Arizona has established its own protocols for conducting jury trials
 7   during the pandemic. (See Ex. B) The development of these and other protocols and
 8   practices have shown that the courts can adapt to our current challenging circumstances.
 9          For example, Defendants have raised concerns about masks impacting their right to
10   confront their accusers, complaining that they will be denied “meaningful confrontation”
11   and “judged without the effect of prejudicial face coverings.” (Mot. at 5.) In similar cases,
12   courts have addressed confrontation concerns by requiring testifying witnesses to wear
13   clear face masks or face shields. See, e.g., United States v. Robertson, 2020 WL 6701874,
14   at *2 (D.N.M. Nov. 13, 2020) (clear face shields); cf. United States v. James, 2020 WL
15   6081501, at *2-3 (D. Ariz. Oct. 15, 2020) (Rayes, J.) (holding that Confrontation Clause
16   did not require witnesses to testify without masks; noting defense counsel and client may
17   wear transparent face shields); United States v. Clemons, 2020 WL 6485087, at *2 (D. Md.
18   Nov. 4, 2020) (following James).
19          In addition, numerous preventative measures can be imposed within the courthouse.
20   For example, reliance on trial presentation software to limit the circulation of exhibits,
21   mandatory face masks inside the courtroom, segregating jurors from the public and other
22   trial participants, plexiglass within the courtrooms, live streaming of courtroom
23   proceedings in a separate courtroom for the press and public, temperature checks upon
24   entry, among other things, will ensure a safe environment for trial participants. (See also
25   Exs. A-B.)
26          Defendants further argue that they cannot effectively prepare their more significant
27   witnesses for their testimony remotely. (Mot. at 7-8.) Here, Defendants have noticed 39
28   witnesses but only have identified 27 witnesses by name. Every witness is some form of


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 1   an expert witness, and such witnesses are generally easier to prepare for trial testimony
 2   than percipient or lay witnesses. Moreover, the Court has precluded unnamed witnesses,
 3   precluded one expert (Bates Butler), and limited the testimony of four of their other expert
 4   witnesses. (See Doc. 1081.) Yet, Defendants fail to articulate any legitimate reason why
 5   trial preparation tasks such as witness and exhibit preparation require in-person interaction.
 6   Nearly the entire legal profession has been engaged in full-time telework since March
 7   2020. In this nearly year-long period of adjustment and change, the profession has adapted
 8   to a “new normal” in conducting its work remotely, including trial preparation, court
 9   hearings, and even civil trials. It defies reason for Defendants to argue that although the
10   entire legal profession has adapted to remote proceedings and preparation using web
11   platforms, they are unable to do so.
12          b.     The Vaccine
13          Circumstances in the United States have changed since the previous trial
14   continuance was granted based on the COVID-19 pandemic and the maternity leave of one
15   of the defense attorneys. Two vaccines are currently being distributed in the United States. 1
16   Additional vaccines may soon receive approval for distribution. 2 Individuals 65 years and
17   older, those with preexisting health issues, and other groups have received priority for
18   vaccination. 3 Based on information cited in Defendants’ previous motions to continue
19   trial, many of the defendants (and their attorneys) have priority for the vaccine due to age
20   and/or pre-existing medical conditions. Despite this, the government recognizes it will
21   take some time before the vaccine is widely available to the general population, including
22   witnesses and prospective jurors.      In addition, while Judges (and their staff), law
23   enforcement and lawyers regularly at courts have been prioritized for immunization in
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             https://www.cdc.gov/; see also https://www.wsj.com/articles/how-to-get-a-covid-
     19-vaccine-a-state-by-state-guide-11611703769 (last visited February 2, 2021).
26          2
                   https://www.cnn.com/2021/01/29/health/johnson-covid-19-vaccine-how-it-
27   works/index.html (last visited February 1, 2021).

28
            3
               https://www.wsj.com/articles/how-to-get-a-covid-19-vaccine-a-state-by-state-
     guide-11611703769 (last visited February 2, 2021).

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 1   Arizona, the government recognizes that each state is developing its own protocol on the
 2   order in which vaccines should be administered. 4       Here, the prosecution team has
 3   endeavored to become vaccinated and is also working with victims and other lay witnesses
 4   to ensure that they have received vaccinations in the coming months.
 5          The defense suggests a September 20, 2021 trial date and then notes that if the case
 6   extends into November (which is likely) one of the attorneys needs to take a week break
 7   for a personal commitment. (Mot. at 12.) Given the number of attorneys, witnesses, and
 8   jurors involved in this case, and the length of the case, this court cannot accommodate
 9   every attorney’s personal conflicts with the trial schedule.         Additionally, several
10   Defendants are represented by multiple trial counsel. The United States recommends an
11   August start date to avoid any conflict and a break in what is anticipated to already be a
12   lengthy trial.
13          c.        Pending Deadlines
14          If the Court adopts the August 16, 2021 trial date recommended by the United
15   States, the government proposes the following revisions to the current deadlines:
16
      Document                                           Current Deadline New Deadline
17
      Government’s Disclosure of Final Exhibit and March 12, 2021             July 12, 2021
18    Witness List
19    Disclosure of Final Exhibit and Witness List       March 19, 2021       July 19, 2021
20    Parties Joint Submission of Proposed Jury March 12, 2021                July 12, 2021
21    Instructions, Verdict Form, Voir Dire, and
22    Statement of the Case
23
24
25
            4
              See https://www.maricopa.gov/5651/Phase-1B#lawenforcement (last visited
     Feb.2, 2021); Ex. C, Jan. 22, 2021 email from Arizona State Bar President Denis M.
26   Fitzgibbons, re: ADDITIONAL INFORMATION: Legal Services May Qualify for Phase
     1B of Arizona’s Vaccine (“[T]hose who are regularly at the courts (such as prosecutors,
27   defense attorneys and dependency attorneys), fall into the critical governmental services
     category and should work with their employers on opportunities for getting vaccinated.”).
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 1                                        CONCLUSION
 2      The United States does not oppose Defendants’ request to continue the April trial date
 3   given the circumstances, but notes that if granted, this case will proceed to trial more than
 4   three years after the indictment was filed. This will be the sixth trial continuance. Absent
 5   the public health emergency, the parties were preparing for trial in January 2021. The
 6   government has expended significant time and resources preparing for trial, and
 7   Defendants have represented they have been diligently preparing as well. The public
 8   interest and the victims’ rights weighs heavily in favor of ensuring that this trial proceeds
 9   efficiently, safely and without unreasonable delay.
10          Respectfully submitted this 2nd day of February, 2021.
11
                                               MICHAEL BAILEY
12                                             United States Attorney
                                               District of Arizona
13
                                               s/ Kevin M. Rapp
14                                             KEVIN M. RAPP
                                               MARGARET PERLMETER
15                                             PETER S. KOZINETS
                                               ANDREW C. STONE
                                               Assistant U.S. Attorneys
16                                             DANIEL G. BOYLE
                                               Special Assistant U.S. Attorney
17
18                                             NICHOLAS L. MCQUAID
                                               Acting Assistant Attorney General
19                                             U.S. Department of Justice
                                               Criminal Division, U.S. Department of Justice
20
                                               REGINALD E. JONES
21                                             Senior Trial Attorney
                                               U.S. Department of Justice, Criminal Division
22                                             Child Exploitation and Obscenity Section
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 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on this same date, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6
 7   s/ Joy Faraj           .
     Joy Faraj
 8   U.S. Attorney’s Office
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